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                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS




MELVIN HALE, PhD,

             Plaintiff

v.
                                                               JURY TRIAL DEMAND

EMPORIA STATE UNIVERSITY; JACKIE
VIETTI, in her capacity as Interim President of
Emporia State University; DAVID CORDLE, in his                 Case No. 15-4947-SAC-KGS
capacity as Provost of Emporia State University,
JUDY ANDERSON, in her capacity as Executive
Director of Human Relations at Emporia State
University; GWEN ALEXANDER, as Dean of the
School of Library & Information Management at
Emporia State University; CHRIS HOOVER, as
Chief of Police at Emporia State University;
DEBRA RITTGERS, as Assistant to the Dean of
the School of Library and Information
Management; and DOES 1 to 10,

             Defendants.




                                 AMENDED COMPLAINT

     COMES NOW Plaintiff Melvin Hale, Pro Se, and for his Amended Complaint against

                           Defendants, states and alleges as follows:

                               DEMAND FOR JURY TRIAL

                   Plaintiff demands a jury trial on all issues raised herein.

                         DESIGNATION OF PLACE OF TRIAL


        Plaintiff hereby requests that the trial of this cause be held in Topeka, Kansas.
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                                          INTRODUCTION


        1. This is an action seeking damages for defamation and false light invasion of privacy

under Kansas law, and due process under the 14th Amendment of the United States Constitution.

        2. As set forth in more detail below, Defendants, published false representations about

Plaintiff which a reasonable person would find highly offensive – that he, an Assistant Professor

in the School of Library and Information Management (SLIM), falsely claimed that a hate crime

occurred on campus in April 2015. Defendants furthered claimed that Plaintiff’s contract to work

in a tenure-track position in the University should be terminated, for among other things, stating

his belief that a long time Emporia State University employee was the highly probable suspect in

the writing of the racial slur.

                                          THE PARTIES

        3. Plaintiff Melvin Hale is a resident of Emporia, Lyon County, Kansas. At all times

relevant hereto, Plaintiff was an Assistant Professor at Emporia State University. He graduated

with a doctorate from the University of California, Los Angeles in March 2014.

        4. Defendant EMPORIA STATE UNIVERSITY (“ESU”) is a Kansas State institution of

higher learning established as Kansas Normal School in 1863 in Emporia, Kansas, with a current

enrollment of just over 6,000 students.


        5. Defendant JACKIE VIETTI is the duly appointed Interim President of ESU and is

sued in her capacity as such.


        6. Defendant DAVID CORDLE is the duly appointed Provost of ESU and is sued in his

capacity as such.




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       7. Defendant JUDY ANDERSON is the duly appointed Executive Director of Human

Relations at ESU and is sued in her capacity as such.


       8. Defendant GWEN ALEXANDER is the duly appointed Dean of SLIM at ESU and is

sued in her capacity as such.


       9. Defendant CHRIS HOOVER is the duly appointed Chief of Police at ESU and is sued

in his capacity as such.


       10. Defendant DEBRA RITTGERS is the duly appointed Assistant to the Dean of SLIM

and is sued in her capacity as such.


       11. Plaintiff does not know the true names and capacities of the defendants sued

fictitiously as DOES 1 to 10 (“DOE DEFENDANTS”) and will amend this Amended Complaint

to reflect such information as it is ascertained. Plaintiff alleges that the DOE defendants are,

each, separately or in groups, in some manner responsible for the acts complained of herein.

Plaintiff further alleges that the DOE DEFENDANTS were the agents, employees or responsible

individuals or entities in respect to the allegations set forth in this Amended Complaint.


                                       Jurisdiction and Venue


       12. This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 because the matter in controversy exceeds the sum or value of $75,000 exclusive

of interest and costs, and 42 U.S. Code § 1983 which affords citizens of the United States due

process.


       13. The Court has personal jurisdiction over Defendants because the unlawful acts and

conduct complained of herein occurred within the State of Kansas.

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       14. Venue is proper in this Court pursuant to 29 U.S.C. § 1391[b] because a substantial

part of the acts and conduct giving rise to Plaintiff’s injury claims occurred in Emporia, Lyon,

Kansas, which lies within the District of Kansas and because Defendants transact business within

the District of Kansas.


                     FACTS COMMON TO ALL CAUSES OF ACTION


       15. Plaintiff was engaged in his ordinary duties, attending a faculty meeting, as an

Assistant Professor on April 8, 2015, when he received a text message from his wife Angelica

Hale, who was the Assistant to the Dean for Marketing.


       16. The text message indicated that the office of a student who worked with Angelica

had been entered and certain things had been tampered with, and that the word “NIGGAZ” had

been scrawled on the notepad on the student’s desk. A true and accurate copy of these text

messages is attached as Exhibit A to Plaintiff s Amended Complaint and is incorporated by

reference herein. The door to the office, located in a remote area of the library school on the

fourth floor not normally visited by strangers, which was normally locked, was found unlocked.


       17. Plaintiff and his wife were the sole African American employees of SLIM.


       18. Plaintiff is one of only two tenure-track African American faculty at ESU.


       19. ESU has no tenured African American professors.


       20. The Dean of SLIM, Gwen Alexander, was informed of the incident that day by the

Plaintiff and Angelica Hale. The Dean promised to look into the situation.




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       21. The student was contacted by Angelica on a regular basis following the incident, but

indicated that the Dean never approached her about the incident for more than two months, and

only then after the Plaintiff and his wife had approached the Provost and the ESU Police.


       22. After more than two months, with no action by the Dean, Plaintiff and his wife

contacted the Provost, David Cordle and the head of Human Resources, Judy Anderson on June

15 to set up a time to discuss the situation. A true and accurate copy of this email is attached as

Exhibit B to Plaintiff s Amended Complaint and is incorporated by reference herein. At a

meeting on, or about June 30, 2015, Dr. Cordle indicated that he had talked briefly with Dean

Alexander, and that she had told him that she had talked with the student the day of the incident,

and that the student seemed to be just fine.


       23. In June 2015, Angelica contacted Wendy Carlson, a nationally acclaimed forensic

handwriting examiner, to examine a high resolution photograph of the note, and the handwriting

of the Dean’s Assistant, Debra Rittgers. On or about June 9, 2015, Angelica received a call from

Wendy Carlson requesting more samples of Debra Rittgers handwriting, which were provided.

On or about June 19, 2015, Angelica received a call that went to voicemail from Wendy Carlson

stating that she had received the additional handwriting samples, but that in her expert opinion,

Debra Rittgers, the Dean’s Assistant, was still the most probable author of the racial slur found in

the student’s notebook. A true and accurate transcript of this voicemail is attached as Exhibit C

to Plaintiff s Amended Complaint and is incorporated by reference herein. Carlson will need

additional samples of handwriting to arrive at a conclusive determination.




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       24. On, or about, July 1, 2015, Plaintiff and his wife went to the Emporia State

University Police Department, and filed a complaint about the incident, and provided them with

the information given by Wendy Carlson, and asked the Police Department to contact her.


       25. The following morning, an officer in the Police Department called Plaintiff and

relayed the message that in the opinion of Police Chief Chris Hoover, no hate crime had

occurred, so no formal report would be taken, and no investigation would be conducted.


       26. During the month of July, ESU Interim President Jackie Vietti instructed HR

specialist Ray Lauber to provide her with a private report on the incident, and on allegations of

retaliation by Dean Alexander brought forward by Plaintiff and his wife.


       27. In the Associated Press story that broke on July 29, 2015, the private report that Ray

Lauber was working on for Dr. Vietti suddenly was called an “investigation” with results that

would be made available to the campus and to the media.


       28. On September 9, Jackie Vietti and ESU General Counsel Kevin Johnson released the

results of the “investigation” with a statement that said in part that “no hate crime had occurred.”

A true and accurate copy of this email is attached as Exhibit D to Plaintiff s Amended

Complaint and is incorporated by reference herein. The following day Dr. Vietti provided a

follow a follow up statement that read “While the University concluded no hate crime occurred, I

want to make it clear that Emporia State is not hiding behind the legal definition of a hate crime.

A true and accurate copy of this email is attached as Exhibit E to Plaintiff s Amended Complaint

and is incorporated by reference herein.


       29. In the same document referenced in the preceding paragraph (Exhibit E), Dr. Vietti

took issue with Wendy Carlson’s expert opinion. Dr. Vietti wrote: “While it has been publicly

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stated that she [Debra Rittgers] is the most likely suspect according to a nationally known

forensic handwriting expert, no evidence has been produced to support that statement. Further, it

is problematic, if not impossible, at this point to conduct a formal handwriting test given that the

word now exists only as a picture on a cell phone.”


       30. In a move meant to quell all dissent, Dr. Vietti concluded her statement with the

following: “Therefore, Emporia State University is taking this opportunity to formally and

publicly exonerate Debbie Rittgers of any wrong-doing in this matter. I solicit your support to do

the same (Exhibit E).”


       31. Earlier, on or about July 7, Dean Alexander had made a similar comment to Plaintiff

about Wendy Carlson. The Dean stated that: “I checked on that handwriting expert. She is the

first one that pops up, and I don’t acknowledge [Wendy Carlson] as a handwriting expert. If you

sent her a different thing to analyze, she would always say the same thing. A true and accurate

transcript of this discussion is attached as Exhibit F to Plaintiff s Amended Complaint and is

incorporated by reference herein.


       32. On September 15, 2015, Plaintiff and his wife conducted a protest march at ESU in

which over 125 people participated. The issues were the handling and outcome of the

“investigation,” and the treatment of the Hale’s by the University. A true and accurate copy of a

Bulletin story covering the march is attached as Exhibit G to Plaintiff s Amended Complaint and

is incorporated by reference herein.


       33. On September 16, 2015, Dr. Vietti sent Plaintiff a letter outlining conditions for

continued employment at ESU. One condition was that Plaintiff “issue a retraction of your

accusation of Debbie Rittgers as the author of the racial slur unless you provide the University


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with credible, substantive evidence that Ms. Rittgers is the perpetrator.” A true and accurate

copy of this email is attached as Exhibit H to Plaintiff s Amended Complaint and is incorporated

by reference herein.


                                      COUNT I
                          FALSE LIGHT INVASION OF PRIVACY
       34. Plaintiff hereby adopts, re-alleges, and incorporates by reference the allegations

contained in paragraphs 1 through 26 above.


       35. Plaintiff is a scientist, and as such, gives substantial credence to scientific methods

such as forensic handwriting examination. For an academic institution to ignore forensics in

favor of heuristics is preposterous and unacceptable.


       36. By demanding that Plaintiff retract his opinion on who authored the racial slur, based

on scientific methods, ESU demonstrated its malice towards Plaintiff, and by so doing,

encouraged others to do the same.


       37. ESU alleges that Debra Rittgers offered to take a polygraph and a handwriting test to

prove her innocence, but ESU relieved her of that requirement for unspecified reasons.


       38. ESU knows that if Debra Rittgers has her handwriting compared to the writing on the

notebook, and Rittgers is shown to be the author of that slur conclusively, the results of their

“investigation,” which deliberately ignored the forensic evidence, would be invalidated.


       39. By claiming that no hate crime occurred and that they were no valid instances of

racial discrimination in SLIM during the 2014-2015 school year, ESU portrayed Plaintiff as a

liar and a fraud. The student newspaper, the Bulletin, wrote a scathing editorial comparing

Plaintiff and his wife to the Boy Who Cried Wolf. Numerous similar comments were made by

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readers of the Bulletin and other online news venues where the story was posted. A true and

accurate copy of this story is attached as Exhibit I to Plaintiff s Amended Complaint and is

incorporated by reference herein. The general story about our experiences was carried by the

Associated Press as a Big Story, both before and after the so-called results, and it was seen

nationally from coast to coast, as well as internationally. A true and accurate copy of this email

is attached as Exhibit J to Plaintiff s Amended Complaint and is incorporated by reference

herein.


          40. Defendants sought to bolster the validity of their “investigation” by claiming that it

was reviewed by two independent entities, neither of which has been made available for inquiry.


          Defendants have presented Plaintiff with conditions for continued employment that imply

that Plaintiff has failed to perform his duties, yet Defendants have failed to follow Defendants

own processes for adjudicating job performance issues, and at no time have provided Plaintiff a

forum in which to discuss his performance.


          41. Plaintiff has suffered severe embarrassment, great emotional pain, anguish, and grief

of mind as a result of Defendants’ actions, which were willful and reckless.


          42. As a direct result of these actions by Defendants, Plaintiff has suffered real and

actual damages in excess of $75,000.00.


                                             COUNT II
                                           DEFAMATION
          43. Plaintiff hereby adopts, re-alleges, and incorporates by reference the allegations

contained in paragraphs 1 through 35 above.




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          44. The audience for Defendant’s comments and conduct was international. Educators,

researchers and practitioners in the fields of library, education and archives who knew Plaintiff

offered letters of support for Plaintiff to the University and to the American Library Association.

A true and accurate copy of this letter is attached as Exhibit K to Plaintiff s Amended Complaint

and is incorporated by reference herein. A letter was sent to the administration from Black

faculty and staff at ESU. A true and accurate copy of this letter is attached as Exhibit L to

Plaintiff s Amended Complaint and is incorporated by reference herein.


          45. Plaintiff was forced to protest to confront the injustices which he felt, but that action

may cause many potential employers to avoid him as a potential disruptor and whistle-blower.


          46. Defendants knew that they were causing harm to Plaintiff’s reputation, but they acted

with total disregard by purveying false and incomplete stories, and by shielding Debra Rittgers.


          47. Defendants released a false statement regarding hate crimes that clearly shows

prevarication. Hate crimes include vandalism, graffiti and hateful messages. Defendants

disregarded vandalism, which did occur in this case. A true and accurate copy of this statement

is attached as Exhibit M to Plaintiff s Amended Complaint and is incorporated by reference

herein.


          48. Defendants ignored best practices in addressing hate crimes. The Action Matters

program at the University of Wisconsin is an example of best practices. A true and accurate

copy of this program is attached as Exhibit N to Plaintiff s Amended Complaint and is

incorporated by reference herein.




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       49. As a direct result of his activities to obtain justice, Plaintiff has lost numerous

supporters, and ESU has isolated the Plaintiff from his colleagues by forcing him to work from

home, denying him face-to-face courses with students. All of Plaintiffs’ classes are now online.


       50. By Defendants actions, Plaintiff was given unreasonable and highly objectionable

publicity that attributed to him characteristics, conduct or beliefs that are false, and in so doing

harmed the good reputation that the Plaintiff worked hard to attain.


       51. The allegations made against Plaintiff by Defendants were highly offensive and

would be considered highly offensive by any reasonable person.


       52. Plaintiff earned his doctorate at age 60 from UCLA at a cost in excess of $250,000.

In publishing false statements about Plaintiff, Defendants acted with reckless disregard, creating

a setback for Plaintiff’s future earnings and upward mobility.


       53. As a direct result of these actions, Plaintiff has suffered real and actual damages in

excess of $75,000.


                                       III. COUNT THREE
                                          DUE PROCESS

       54. Plaintiff hereby adopts, re-alleges, and incorporates by reference the allegations

contained in paragraphs 1 through 53 above.


       55. The Due Process provisions of the 14th Amendment require that review of laws

impacting rights deemed fundamental are analyzed using the strict scrutiny standard of review.

Washington v. Glucksberg, 521 U.S. 702, 719 (1997); Elrod v. Burns, 427 U.S. 347, 96 S.Ct.

2673 (1976).



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       56. As agents of the State of Kansas, Defendants were required to refrain from making

public statements defaming Plaintiff, and casting Plaintiff in a false light, whether or not the

statements abridged Plaintiff’s civil rights.


       57. Defendants were required by Kansas law and institutional policies, to fully examine

any and all complaints of criminal activity, such as that reported by Plaintiff, yet none of the

Defendants did so, and instead, ignored Plaintiff’s demands for transparency, depriving Plaintiff

of due process while publicly implying that Plaintiff had been dishonest in the reporting of a hate

crime, for which Plaintiff would be punished.


       58. Defendants demanded that Plaintiff retract a stated belief that Debra Rittgers was the

author of the racial slur or face termination, yet Defendants refused to require Debra Rittgers to

submit handwriting samples that would conclusively confirm whether or not she was the author

of the racial slur, further depriving Plaintiff of due process while degrading his reputation.


       59. Defendants created fictional narratives depicting the physical scene of the student’s

office as open to public and not a locked private office; that it was a place where numerous

unnamed individuals came and went throughout the day. When confronted with the facts by the

Plaintiff, Defendants refused to acknowledge the error of their narratives, or to follow Title IX

procedures for investigating reports of bias on the ESU campus.


       60. Defendant Jackie Vietti refused all requests by Plaintiff to meet with him to discuss

the facts of the incident, the findings of Wendy Carlson, a forensic handwriting examiner, or the

negative personnel actions which were alleged against Plaintiff in documents given to Plaintiff

by Jackie Vietti and/or Provost David Cordle, which included egregious conditions for continued

employment, depriving Plaintiff of due process under the law.


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       61. Defendants’ conduct rises to the level not only of state-caused stigmatic harm, it

crosses the boundary where Defendants’ conduct created a tangible loss, the loss of employment,

along with damaging Plaintiffs’ public standing and reputation under the 14th Amendment.


       62. In Paul v. Davis, the U.S. Supreme Court ruled that reputational harm alone was

insufficient to trigger a constitutional right to procedural due process, see Paul v. Davis, 424 U.S.

693, 712 (1976). Only if some more tangible loss (e.g., concurrent loss of government

employment) accompanies state-caused stigmatic harm does a constitutional right to procedural

due process arise (Id. at 701). These circumstances are fully met by the willful and reckless

conduct of the Defendants.


       63. That Plaintiff has, and is, suffering reputational harm is unmistakable, as shown in

Exhibits O, P, Q, R, S, and T, which are incorporated by reference herein.


       64. Before publicly posting defamatory information about Plaintiff, Defendants were

required to give Plaintiff notice of the intent to post such information, and to provide Plaintiff an

opportunity to present Plaintiff’s side of the matter, see Constantineau v. Grager, 302 F. Supp.

861, 864 (E.D. Wis. 1969). The Supreme Court affirmed this ruling in explicit terms: “Where a

person’s good name, reputation, honor, or integrity is at stake because of what the government is

doing to him, notice and an opportunity to be heard are essential (Constantineau, 400 U.S. at

437). In this case, Defendants were intent on silencing Plaintiff’s objections to their narrative,

and even went so far as to publicly exonerate the suspect, while denigrating the beliefs of the

Plaintiff, which were grounded in forensic science.


       65. In Monroe v. Pape, the modern watershed § 1983 case, the Court had made clear that

the existence of a state cause of action was no bar to raising a § 1983 suit in federal court: “It is


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no answer that the State has a law which if enforced would give relief. The federal remedy is

supplementary to the state remedy, and the latter need not be first sought and refused before the

federal one is invoked.” 365 U.S. 167, 183 (1961).


       66. Defendants actions were intentional and reckless and grounded in malice, although

malice is not a necessary component of defamation when the Plaintiff is not a public figure.

Defendants fully intended to engender public reaction against Plaintiff by characterizing Plaintiff

as professionally unfit, a false prophet, a teller of tales and a soon-to-be former employee.


       67. The harm that is caused when state actors, without due process of law, label and

stigmatize individuals as wrongdoers thus runs more deeply than simply negatively impacting

one’s social standing. Unchallenged stigmatic injury also frustrates individual self-invention, and

in that sense deprives the individual of liberty without due process of law.


       68. Defamation law safeguards the notion that one’s reputation is slowly built up over

time by integrity, honorable conduct, and right living. One’s good name is a valuable possession

which no state has a right to destroy without due process and valid evidence. Defamation laws

are conceived by the notion by which society polices its rules of deference and demeanor,

thereby protecting the dignity of its citizens. The Defendants in this case had no right to treat

Plaintiffs’ reputation as rubbish. In so doing, they breached the rules of civility and communal

membership.


       69. One need only consider Justice Stewart’s language in concurrence in Rosenblatt to

see the judicially conceptualized grounding of reputation in personal dignity: “The right of a man

to the protection of his own reputation from unjustified invasion and wrongful hurt reflects no

more than our basic concept of the essential dignity and worth of every human being - a concept


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at the root of any decent system of ordered liberty” Rosenblatt v. Baer, 383 U.S. 75, 92 (1966)

(Stewart, J., concurring). The Defendants in this case acted in callous disregard of Plaintiffs

state, constitutional, and civil rights.


                                     IV. PUNITIVE DAMAGES


         70. Paragraphs 1-69 are incorporated herein by reference.


         71. The acts and conduct of Defendants was willful, wanton, reckless, and malicious, and

further, shows a complete and deliberate indifference to, and conscious disregard for, the rights

of Plaintiff. Therefore, Plaintiff is entitled to an award of punitive or exemplary damages in an

amount sufficient to punish Defendants or to deter Defendants and others from like conduct in

the future.


         WHEREFORE, based on the foregoing, Plaintiff prays that this Court grant the relief
sought including, but not limited to, actual damages in excess of Seventy-Five Thousand Dollars
($75,000.00), with interest accruing from date of filing of suit, punitive damages in excess of
Seventy-Five Thousand Dollars ($75,000.00), and all other relief deemed appropriate by this
Court.

                                                      Respectfully submitted,

                                                      ______________________________
                                                      Melvin Hale, PhD, Plaintiff
                                                      Appearing Pro Se
                                                      P.O. Box 724
                                                      Emporia, KS 66801
                                                      melvinhale@ucla.edu
                                                      916-690-7927




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